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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JUN LIANG, on his own behalf and on behalf of
others similarly situated,
                                                               ORDER
                            Plaintiff,
                     -against-                                 20-CV-03904 (PMH)

MASTER WOK, INC., et al.,
                            Defendants.


PHILIP M. HALPERN, United States District Judge:

         On July 24, 2020, Plaintiff filed seven (7) affidavits of service indicating that all

Defendants were served on July 21, 2020. (Docs. 14-20). There has been no activity on this docket

since that date.

         Accordingly, the parties are directed to submit a joint letter to the Court via ECF concerning

the status of this action by October 30, 2020.



Dated:     New York, New York
           October 19, 2020

                                                   PHILIP M. HALPERN
                                                   United States District Judge
